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10
                       UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12
                                          )   Case No.
13
     JONATHAN BOOTH, individually)
14   and on behalf of all others similarly)   CLASS ACTION COMPLAINT
     situated,                            )   FOR VIOLATIONS OF:
15
                                          )
16   Plaintiffs,                          )     1. The Fair Debt Collection
17
                                          )        Practices Act, 15 U.S.C.
            vs.                           )        §§1692, et seq.; and
18                                        )
19   FEDCHEX RECOVERY LLC, and)                 2. The Rosenthal Fair Debt
     Does 1-10, inclusive,                )        Collection Practices Act, Cal.
20
                                          )        Civ. Code §§1788, et seq.
21   Defendant(s).                        )
22
                                          )   JURY TRIAL DEMANDED
                                          )
23                                        )
24                                        )
     _______________________________ )
25

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 1

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 3
                                        Introduction
 4
     1. This case arises as a result of false, deceptive and unfair debt-collection
 5

 6      practices promulgated nationwide by Defendant, Fedchex Recovery LLC
 7
        (“Fedchex”), in an effort to deceive consumers and debtors by failing to
 8

 9      provide the dispute notices required by law, and overshadowing by sending a
10
        second identical e-mail within two weeks since the first e-mail was sent.
11
     2. In particular, Plaintiff, Jonathan Booth (“Plaintiff”), alleges that within the
12

13      year preceding the filing of this Complaint, Fedchex attempted to collect debts
14
        from him and other consumers and debtors by systematically sending them e-
15

16      mail based collection correspondence that failed to provide the consumers and
17
        debtors the amount of the debt owed, the debt validation dispute notices
18

19
        required by law, and overshadowing the debt validation right by sending a

20      second identical e-mail within two weeks since the first e-mail was sent.
21
     3. Such conduct is inherently deceptive and misleads the least-sophisticated
22

23      consumer, as it is plausible that an unsophisticated consumer would not know
24
        that a debt verification right is provided by law.
25

26   4. Fedchex’s acts and omissions were intentional, and resulted from Fedchex’s
27
        desire to mislead debtors and consumers into making payments, and depriving
28
        them of their debt validation legal right, and a meaningful opportunity to

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 1      exercise the debt validation right by sending e-mail within the debt
 2
        verification statutory period.
 3

 4   5. Thus, Plaintiff brings class action claims against Fedchex, under the Federal
 5
        Fair Debt Collection Practices Act (“FDCPA”) and the Rosenthal Fair Debt
 6

 7      Collection Practices Act (“RFDCPA”), both of which were enacted to
 8
        “eliminate abusive debt collection practices by debt collectors,” and to
 9
        “prohibit debt collectors from engaging in unfair or deceptive acts or practices
10

11      in the collection of consumer debts.” 15 U.S.C. 1692(e); Cal. Civ. Code
12
        §1788.1(b).
13

14                                Jurisdiction and Venue
15
     6. The Court has jurisdiction over Plaintiff’s FDCPA cause of action pursuant to
16

17
        28 U.S.C. §1331, and supplemental jurisdiction over Plaintiff’s RFDCPA

18      claim pursuant to 28 U.S.C. §1367.
19
     7. Venue is proper in the Central District of California pursuant to 18 U.S.C. §
20

21      1391(b) because Fedchex does business within the Central District of
22
        California, and because Plaintiff is a resident of Los Angeles County,
23

24      California, which is within the Central District of California.
25
                                         The Parties
26
     8. Plaintiff is a natural person residing in Los Angeles County, State of
27

28      California who is obligated or allegedly obligated to pay any debt, and from


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 1      whom a debt collector seeks to collect a consumer debt which is due and
 2
        owing or alleged to be due and owing, thereby rendering him a “consumer,”
 3

 4      under the FDCPA, 15 U.S.C. §1692a(3), and a “debtor” under the RFDCPA,
 5
        Cal. Civ. Code §§1788.2(h).
 6

 7   9. Fedchex is a company based in Orange County California, that uses any
 8
        instrumentality of interstate commerce or the mails in its business, the
 9
        principal purpose of which is the collection of any debts; it also regularly
10

11      collects or attempts to collect, directly or indirectly, debts owed or due or
12
        asserted to be owed or due another. Thus, Fedchex is a “debt collector,” under
13

14      the FDCPA, 15 U.S.C. §1692(a)6. Fedchex, in the ordinary course of business,
15
        regularly, on behalf of itself or others, engages in debt collection, thereby
16

17
        qualifying it as a “debt collector,” under the RFDCPA, Cal. Civ. Code

18      §1788.2(c).
19
     10. The debts Fedchex attempted to collect from Plaintiff and the putative class
20

21      members qualify as “debt(s),” under the FDCPA, 5 U.S.C. §1692a(5), and as
22
        “consumer debt(s),” under the RFDCPA, Cal. Civ. Code §1788.2(f).
23

24                                 Factual Allegations
25
     11. Within one (1) year preceding the filing of this class action lawsuit, Fedchex
26
        e-mailed Plaintiff a collection e-mail dated July 27, 2015 from
27

28      recovery@fedchex.com, wherein Fedchex introduced itself by stating:


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 1               Your account with Burbank Athletic Club, LLC has been
                 forwarded to FEDChex Recovery to resolve this matter with you.
 2
                 We realize that this matter is probably an oversight and not
 3               willful disregard of your agreement. To continue uninterrupted
                 service, please contact our office to resolve this matter. You may
 4               reach our FEDChex Recovery offices at 800-979-8917 Monday -
 5
                 Friday from 8am to 5pm PST.

 6               Our client values your business and we thank you in advance for
                 helping to resolve this matter.
 7

 8
                 This is an attempt to collect a debt and any information obtained
                 will be used for that purpose.
 9
                 Thank you,
10

11               FEDChex Recovery
                 800-979-8917
12
                 As a service to you, we will continue to send you reminder
13
                 notices until your account is resolved. If you would like us to
14               discontinue sending this reminder email, please contact us toll
                 free at 800-979-8917 to cancel all further email notifications.
15
                 Please do not reply to this message. For account specific
16
                 inquiries, please contact us at 800-979-8917 or you can view
17               your account at www.payoffclaim.com.

18
                 We are required under some states' laws to notify consumers of certain rights as detailed
19               below. Consumers in these states may have additional rights under state and federal law.
                 Consumers in other states may have these and/or additional rights under state and
                 federal law. […]
20
                                        (emphasis and fonts as in original e-mail)
21

22
     12. Plaintiff subsequently received an identical email on August 10, 2015, where
23

24      Fedchex equally failed to provide adequate notice and overshadowed the debt
25
        verification right by pressuring Plaintiff to make payments during the 30 days
26

27
        debt verification statutory period, thus showing a rooted and deliberate unfair
28      and deceptive debt collecting policy.


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 1   13. Nowhere does the above cited collection e-mail provides Plaintiff any
 2
           information regarding the debt verification process established by 16 U.S.C.
 3

 4         §1692g (a). Indeed, the e-mail fails to provide: (1) the amount of the debt; (2)
 5
           a statement that unless the consumer, within thirty days after receipt of the
 6

 7         notice, disputes the validity of the debt, or any portion thereof, the debt will be
 8
           assumed to be valid by the debt collector; (3) a statement that if the consumer
 9
           notifies the debt collector in writing within the thirty-day period that the debt,
10

11         or any portion thereof, is disputed, the debt collector will obtain verification of
12
           the debt or a copy of a judgment against the consumer and a copy of such
13

14         verification or judgment will be mailed to the consumer by the debt collector;
15
           and (4) a statement that, upon the consumer’s written request within the thirty-
16

17
           day period, the debt collector will provide the consumer with the name and

18         address of the original creditor, if different from the current creditor. Nor was
19
           a second e-mail containing the notices required by law sent within five days
20

21         from the first e-mail.
22
     14. Moreover, Fedchex send a second identical e-mail on August 10, 2015 to
23

24         pressure Plaintiff to make a payment, thus depriving him of a meaningful
25
           opportunity to exercise the debt validation right within the 30 days verification
26
           statutory period.
27

28   ///


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 1   15. Ultimately, this email mislead Plaintiff into believing that he could only
 2
        contact Fedchex to pay for his account; it also mislead Plaintiff into believing
 3

 4      that he did not have a right to request for debt validation, as the e-mail clearly
 5
        said that Fedchex would continue sending notices until the account was
 6

 7      resolved. In the very bottom of the e-mail, Fedchex merely provided a brief
 8
        sentence informing Plaintiff that he could call for inquiries, yet no mention of
 9
        validation was present either in the main body of the e-mail, or in the limited
10

11      notices provided in decreased font at the bottom of the e-mail. Moreover, the
12
        amount of the alleged debt owed was never disclosed by Fedchex, thus
13

14      Plaintiff was clearly mislead by a collection e-mail that failed to provide the
15
        most basic information necessary to ascertain the validity and veracity of the
16

17
        debt. Finally, Fedchex sent a second identically collection email, within two

18      weeks from the first notice date—and within the 30 days debt verification
19
        statutory period—thus overshadowing Plaintiff’s debt-validation right, an
20

21      inherently unfair and deceptive practice.
22
                                      Class Allegations
23

24   16. Plaintiff brings this class action on behalf of himself and all others similarly
25
        situated (“the Class”).
26
     17. Plaintiff represents, and is a member of the following classes:
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 1            a. All persons residing in the United States, who, within the one (1)
 2
                 year preceding the filing of this Complaint, received collection
 3

 4               correspondence from Fedchex that failed to provide a general notice
 5
                 informing consumers of their legal right to request for a debt
 6

 7               validation including the amount of the debt;
 8
              b. All persons residing in the United States, who, within the one (1)
 9
                 year preceding the filing of this Complaint, received collection
10

11               correspondence from Fedchex that failed to provide a statement that
12
                 unless the consumer, within thirty days after receipt of the notice,
13

14               disputes the validity of the debt, or any portion thereof, the debt will
15
                 be assumed to be valid by the debt collector;
16

17
              c. All persons residing in the United States, who, within the one (1)

18               year preceding the filing of this Complaint, received collection
19
                 correspondence from Fedchex that failed to provide a statement that
20

21               if the consumer notifies the debt collector in writing within the
22
                 thirty-day period that the debt, or any portion thereof, is disputed, the
23

24               debt collector will obtain verification of the debt or a copy of a
25
                 judgment against the consumer and a copy of such verification or
26
                 judgment will be mailed to the consumer by the debt collector;
27

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 1            d. All persons residing in the United States, who, within the one (1)
 2
                  year preceding the filing of this Complaint, received collection
 3

 4                correspondence from Fedchex that failed to provide a statement that,
 5
                  upon the consumer’s written request within the thirty-day period, the
 6

 7                debt collector will provide the consumer with the name and address
 8
                  of the original creditor, if different from the current creditor; and,
 9
              e. All persons residing in the United States, who, within the one (1)
10

11                year preceding the filing of this Complaint, and within the 30 days
12
                  debt verification statutory period beginning from the first notice date,
13

14                received a second collection correspondence from Fedchex where
15
                  such additional correspondence equally lacked the debt verification
16

17
                  notices required by law.

18   18. As a result of Fedchex’s conduct, Plaintiff and members of the putative class
19
        have been deprived of accurate and valid information regarding their legal
20

21      rights regarding debt validation. Fedchex mislead Plaintiff and the Class into
22
        believing that there was no right to request for debt validation, and that the
23

24      only option was to make payments to Fedchex. They have also been mislead,
25
        through the use of overshadowing by receiving a second identical email within
26
        the 30 days from the first notice date.
27

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 1    19. Fedchex and its employees or agents are excluded from the Class. Plaintiff
 2
         does not know the number of members in the Class, but believes the Class
 3

 4       members number to be in the tens of thousands, if not more. Thus, this matter
 5
         should be certified as a Class action to assist in the expeditious litigation of
 6

 7       this matter.
 8
      20. This lawsuit seeks statutory damages, actual damages, and injunctive relief
 9
         for recovery of economic injury on behalf of the Class and is not intended to
10

11       request any recovery for personal injury and claims related thereto. Plaintiff
12
         reserves the right to expand the Class definition to seek recovery on behalf of
13

14       additional persons as warranted as facts are learned in further investigation and
15
         discovery.
16

17
      21. The joinder of the Class members is impractical and the disposition of their

18       claims in the Class action will provide substantial benefits both to the parties
19
         and to the court. The Class can be identified through Fedchex’s records or
20

21       Fedchex’s agents’ records.
22
      22. There is a well-defined community of interest in the questions of law and fact
23

24       involved affecting the parties to be represented. The questions of law and fact
25
         to the Class predominate over questions which may affect individual Class
26
         members, including the following:
27

28




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                             CLASS ACTION COMPLAINT
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 1             a. Whether, within the one (1) year preceding the filing of this
 2
                  Complaint, Fedchex sent collection e-mails to debtors and
 3

 4                consumers that:
 5
                     i. Failed to disclose the amount of the debt;
 6

 7                  ii. Failed to provide a statement that unless the consumer, within
 8
                        thirty days after receipt of the notice, disputes the validity of
 9
                        the debt, or any portion thereof, the debt will be assumed to be
10

11                      valid by the debt collector;
12
                    iii. Failed to provide a statement that if the consumer notifies the
13

14                      debt collector in writing within the thirty-day period that the
15
                        debt, or any portion thereof, is disputed, the debt collector will
16

17
                        obtain verification of the debt or a copy of a judgment against

18                      the consumer and a copy of such verification or judgment will
19
                        be mailed to the consumer by the debt collector; and,
20

21                  iv. Failed to provide a statement that, upon the consumer’s
22
                        written request within the thirty-day period, the debt collector
23

24                      will provide the consumer with the name and address of the
25
                        original creditor, if different from the current creditor.
26
                    v. Overshadowed the debt validation right by sending a second
27

28                      identical e-mail within two weeks from the first notice—and


                                       11
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 1                        within the 30 days debt validation statutory period—which
 2
                          equally failed to disclose the debt validation right.
 3

 4             b. Whether Plaintiff and the Class members were damaged thereby, and
 5
                   the extent of damages for such violation; and
 6

 7             c. Whether Fedchex should be enjoined from engaging in such conduct
 8
                   in the future.
 9
      23. As a person that received the grossly inadequate and misleading collection
10

11       letter from Fedchex, Plaintiff is asserting claims that are typical of the Class.
12
         Plaintiff will fairly and adequately represent and protect the interests of the
13

14       Class in that Plaintiff has no interests antagonistic to any member of the Class.
15
      24. Plaintiff and the members of the Class have all suffered irreparable harm as a
16

17
         result of Fedchex’s unlawful and wrongful conduct. Absent a class action, the

18       Class will continue to face the potential for irreparable harm. In addition, these
19
         violations of law will be allowed to proceed without remedy and Fedchex will
20

21       likely continue such illegal conduct, resulting in numerous debtors and
22
         consumers unknowingly deprived of their debt validation legal right.
23

24    25. Because of the size of the individual Class member’s claims, few, if any, Class
25
         members could afford to seek legal redress for the wrongs complained of
26
         herein.
27

28




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 1    26. Plaintiff has retained counsel experienced in handling class action claims and
 2
         claims involving violations of the FDCPA and RFDCPA.
 3

 4    27. A class action is a superior method for the fair and efficient adjudication of
 5
         this controversy. Class-wide damages are essential to induce Fedchex to
 6

 7       comply with federal and California law. The interest of Class members in
 8
         individually controlling the prosecution of separate claims against Fedchex is
 9
         small because the maximum statutory damages in an individual action under
10

11       the FDCPA and/or RFDCPA are minimal. Management of these claims is
12
         likely to present significantly fewer difficulties than those presented in many
13

14       class claims.
15
      28. Fedchex has acted on grounds generally applicable to the Class, thereby
16

17
         making appropriate final injunctive relief and corresponding declaratory relief

18       with respect to the Class as a whole.
19
        First Cause of Action: Violation of the Fair Debt Collection Practices Act
20

21    29. Plaintiff incorporates by reference, the preceding paragraphs of this
22
         Complaint.
23

24    30. A debt collector may not falsely represent the character, amount or legal status
25
         of any debt in connection with the collection of any debt. 15 U.S.C.
26
         §1692e(2)(A). By engaging in the above detailed conduct, Fedchex violated
27

28       this provision of the FDCPA.


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 1    31. A debt collector may not threaten to take any action that cannot legally be
 2
         taken or that is not intended to be taken, in connection with the collection of
 3

 4       any debt. 15 U.S.C. §1692e(5). By engaging in the above detailed conduct,
 5
         Fedchex violated this provision of the FDCPA.
 6

 7    32. A debt collector may not use false representations or deceptive means, in
 8
         connection with the collection of any debt. 15 U.S.C. §1692e(10). By
 9
         engaging in the above detailed conduct, Fedchex violated this provision of the
10

11       FDCPA.
12
      33. A debt collector may not use unfair or unconscionable means, in connection
13

14       with the collection of any debt. 15 U.S.C. §1692f. By engaging in the above
15
         detailed conduct, Fedchex violated this provision of the FDCPA.
16

17
      34. A debt collector needs to provide adequate notice regarding debtors’ debt

18       validation rights. 15 U.S.C. §1692g(a). By engaging in the above detailed
19
         conduct, Fedchex violated this provision of the FDCPA.
20

21    35. As a direct proximate result of Fedchex’s conduct, Plaintiffand the Class have
22
         suffered actual damages and other harm, thereby entitling them to seek
23

24       statutory damages in the amount of $1,000.00 each, in addition to reasonably
25
         incurred attorney’s fees and costs. 15 U.S.C. §1692k(a)(1)-(3)
26
                                    Prayer for Damages
27

28          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the


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 1    Class members the following relief against Fedchex:
 2
               a. That this action be certified as a class action on behalf of The Class
 3

 4                 and Plaintiff be appointed as the representative of The Class;
 5
               b. For statutory damages of $1,000.00 for Plaintiff and each member of
 6

 7                 The Class pursuant to 15 U.S.C. §1692k(a)(1)
 8
               c. For actual damages according to proof;
 9
               d. For reasonable attorneys’ fees and costs of suit;
10

11             e. For prejudgment interest at the legal rate; and
12
               f. For such further relief as this Court deems necessary, just, and
13

14                 proper.
15
                        Second Cause of Action: Violation of the
16                     Rosenthal Fair Debt Collection Practices Act
17
      36. Plaintiff incorporates by reference, the preceding paragraphs of this
18

19       Complaint.
20
      37. Pursuant to §1788.17 of the RFDCPA: “[n]otwithstanding any other provision
21

22
         of this title, every debt collector collecting or attempting to collect a consumer

23       debt shall comply with the provisions of Sections 1692b to 1692j, inclusive,
24
         of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
25

26       United States Code. However, subsection (11) of Section 1692e and Section
27
         1692g shall not apply to any person specified in paragraphs (A) and (B) of
28

         subsection (6) of Section 1692a of Title 15 of the United States Code or that

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 1       person's principal. The references to federal codes in this section refer to those
 2
         codes as they read January 1, 2001.” Cal. Civ. Code §1788.17.
 3

 4    38. Thus by engaging in conduct prohibited by Sections e(2)(A), e(5), e(10) and f
 5
         of the FDCPA, Fedchex violated the RFDCPA.
 6

 7    39. As a direct proximate result of Fedchex’s conduct, Plaintiff and the Class have
 8
         suffered actual damages and other harm, thereby entitling them to seek
 9
         statutory damages in the amount of $1,000.00 each, actual damages and
10

11       reasonably incurred attorney’s fees and costs. Cal. Civ. Code §1788.30.
12
                                     Prayer for Damages
13

14          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
15
      Class members the following relief against Fedchex:
16

17
               a. That this action be certified as a class action on behalf of The Class

18                and Plaintiff be appointed as the representative of The Class;
19
               b. For statutory damages of $1,000.00 for Plaintiff and each member of
20

21                The Class pursuant to Cal. Civ. Code §1788.30.
22
               c. .For actual damages according to proof;
23

24             d. For reasonable attorneys’ fees and costs of suit;
25
               e. For prejudgment interest at the legal rate; and
26
               f. For such further relief as this Court deems necessary, just, and
27

28                proper.


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 1
                                      Trial by Jury
 2
            Pursuant to the seventh amendment to the Constitution of the United States
 3
      of America, Plaintiff is entitled to, hereby does demand a jury trial.
 4

 5    Dated: April 13, 2016.
 6
                                       By:/s/Todd M. Friedman
 7
                                       Todd M. Friedman, Esq.
 8                                     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
                                       Attorneys for Plaintiff
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